 Case: 1:17-cv-00074-ACL Doc. #: 46 Filed: 02/27/20 Page: 1 of 2 PageID #: 136



                           IN THE UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MISSOURI
                                  SOUTHEASTERN DIVISION

 BONNIE WOODS and JOYCE                                  )
 BALTRUSAITIS,                                           )
                                                         )
                           Plaintiffs,                   ) Case No. 1:17-cv-00074
                                                         )
         V.                                              )
                                                         )
                                                         )
 CORY HUTCHESON,                                         )
                                                         )
                                                         )
                           Defendant.                    )


                                JOINT NOTICE OF SETTLEMENT

        COME NOW both parties, by counsel, and hereby state as follows:

        1. The parties advise the Court that they have resolved this matter to the mutual

              satisfaction of both sides in principal.

        2. Given the agreement in principal by the parties, the parties request that this case be

              removed from the court’s trial docket.

        3. Counsel will file dismissal documents once all terms of the agreed resolution have been

              completed.

        WHEREFORE, the parties respectfully request that the Court remove this case from its

trial docket.




                                                     1
 Case: 1:17-cv-00074-ACL Doc. #: 46 Filed: 02/27/20 Page: 2 of 2 PageID #: 137



                                             Respectfully submitted,

                                             THE LIMBAUGH FIRM
                                             407 N. Kingshighway, P.O. Box 1150
                                             Cape Girardeau, MO 63702-1150
                                             Telephone: (573) 335-3316
                                             Facsimile: (573) 335-1369
                                             Email: jsteffens@limbaughlaw.com
                                                    curt@limbaughlaw.com

                                             By       /s/ Curtis O. Poore
                                                      John C. Steffens - #63267MO
                                                      Curtis O. Poore - #38067MO

                                             ATTORNEYS FOR PLAINTIFFS

                                             BY:      /s/ A. M. Spradling, III
                                                      A. M. Spradling, III, #23702MO

                                             1838 Broadway St.
                                             Cape Girardeau, MO 63701
                                             Telephone: 573/335-8296
                                             Fax: 573/335-8525
                                             Email: amsprad@swbell.net

                                             ATTORNEYS FOR DEFENDANT
                                             COREY HUTCHESON



                                CERTIFICATE OF SERVICE

        I hereby certify that on February 27, 2020, the foregoing was filed electronically with the
Clerk of Court to be served by operation of the Court’s electronic filing system upon all attorneys
of record.

                                             /s/ Curtis O. Poore




                                                  2
